O AO 472 (Rev. 12/03) Order of Detention Pending Trial


                                          UNITED STATES DISTRICT COURT
                         WESTERN                                         District of                             NORTH CAROLINA
          UNITED STATES OF AMERICA
                     V.                                                              ORDER OF DETENTION PENDING TRIAL
           ELLIS JAMES GREEN                                                       Case     1:00 cr 6-7
                              Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                            Part I— Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense G state
         or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
         G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
         G an offense for which the maximum sentence is life imprisonment or death.
         G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                 .*
         G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
              § 3142(f)(1)(A)-(C), or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
         for the offense described in finding (1).
G (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
         safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                    Alternative Findings (A)
     (1) There is probable cause to believe that the defendant has committed an offense
              for which a maximum term of imprisonment of ten years or more is prescribed in                                                        .
              under 18 U.S.C. § 924(c).
     (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
         the appearance of the defendant as required and the safety of the community.
                                                               Alternative Findings (B)
     (1) There is a serious risk that the defendant will not appear.
X    (2) There is a serious risk that the defendant will endanger the safety of another person or the community.

                                          SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                            Part II— W ritten Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by X clear and convincing evidence                           a prepon-
derance of the evidence that
                                       SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                                   Part III— Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.

                       Date                                                                           Signature of Judge
                                                                                      Dennis L. Howell, United States Magistrate Judge
                                                                                                 Name and Title of Judge
*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c)
Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).

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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION
                                    1:00 cr 06-7

UNITED STATES OF AMERICA,

Vs.                                                                      ADDENDUM TO
                                                                        DETENTION ORDER
ELLIS JAMES GREEN.
_______________________________

I. FACTORS CONSIDERED

      18 U.S.C. § 3142:
      (g) Factors to be considered.--The judicial officer shall, in determining whether there are
      conditions of release that will reasonably assure the appearance of the person as required and
      the safety of any other person and the community, take into account the available information
      concerning--
       (1) The nature and circumstances of the offense charged, including whether the offense is a
        crime of violence, a Federal crime of terrorism, or involves a minor victim or a controlled
       substance, firearm, explosive, or destructive device;
       (2) the weight of the evidence against the person;

       (3) the history and characteristics of the person, including--

           (A) the person's character, physical and mental condition, family ties, employment,
               financial resources, length of residence in the community, community ties, past
               conduct, history relating to drug or alcohol abuse, criminal history, and record
               concerning appearance at court proceedings; and
            (B) whether, at the time of the current offense or arrest, the person was on probation,
                on parole, or on other release pending trial, sentencing, appeal, or completion of
                sentence for an offense under Federal, State, or local law; and
      (4) the nature and seriousness of the danger to any person or the community that would be
        posed by the person's release.




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  II.                                    FINDINGS


  As to factor:


   (g)(1): The nature and circumstances of the offense charged involve a conviction in 2001
  of conspiracy to possess with intent to distribute cocaine base. The allegations regarding
  violations of supervised release also involve the use of controlled substances by the
  defendant and failure of the defendant to comply with terms and conditions of release
  regarding drug testing and drug treatment.


  (g)(2): The weight of the evidence against the person appears to be strong and significant.

  (g)(3): The history and characteristics of the person


      (A) Family ties, employment, financial resources, length of residence in the community,
  community ties, past conduct, history relating to drug or alcohol abuse, criminal history
  and record concerning appearance at court appearances indicate that the defendant has
  family ties in the community where he lives and he has had employment. The defendant has
  had a long length of residence in the Rutherford County community. In regard to the
  defendant’s criminal history relating to drug or alcohol abuse, the defendant has the
  following convictions:
          Offense                                                          Conviction Date
  Driving while impaired                                                        03/02/89
  Possession of a malt beverage, driving after consuming malt beverage           04/25/91
  Felony conspiracy to distribute crack cocaine                                  04/04/97
  Misdemeanor possession of marijuana                                            12/29/93
  Possession of a schedule II controlled substance                              02/01/00

  In addition to the above referenced offenses, the defendant has the following additional
  criminal convictions:
            Offense                                                           Conviction Date
  Shoplifting and concealment of goods                                           02/10/89
  Breaking & entering a motor vehicle, misdemeanor larceny, breaking or
     entering felonious larceny, breaking or entering and felonious larceny      05/07/87
  Operating a vehicle with no insurance                                          04/25/91
  Felonious larceny                                                              02/13/89
  Driving while license revoked                                                  11/29/89
  Defrauding an innkeeper                                                        07/17/90
  Driving while license revoked                                                   08/13/91
  Non-support of child                                                           12/07/90
  6 counts of either common law forgery or uttering                              08/05/92
  Misdemeanor larceny, 2 counts                                                  08/05/92
  Driving while license revoked                                                   10/20/92



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  Common law forgery                                                              10/21/92
  Misdemeanor larceny                                                             12/08/93
  Obtaining property by false pretense                                            02/08/94
  Assault on a female                                                             01/30/98
  Violation of domestic violence protection order                                 05/15/98
  Violation of domestic violence protection order                                 04/09/99
  Worthless check                                                                  02/01/00
  Resisting an officer                                                             02/01/00
  Failure to appear on a misdemeanor                                               02/01/00

  The defendant was also convicted in the United States District Court for the Western District
  of North Carolina of conspiracy to possess with intent to distribute cocaine base.
  The defendant’s record concerning appearance at court appearances shows that the defendant
  has failed to appear.

       (B) At the time of the current offense or arrest, the defendant was on probation, parole
  or other release pending trial, sentencing, appeal or completion of sentence. It appears that
  this factor does exist. The defendant was serving a term of supervised release.


  (g)(4): The nature and seriousness of the danger to any person or the community that would
  be posed by the person’s release indicate that the release of the defendant would create a risk
  of harm or danger to any other person or the community. The defendant has continued to use
  crack cocaine during the period that he was serving a term of supervised release. Also, the
  defendant has repeatedly refused and failed to report for drug testing. From November 30,
  2006 to August 15, 2008 the defendant had failed to report on eleven occasions for drug
  testing. These acts by the defendant show by clear and convincing evidence that he
  continuing to use controlled substances and that his release would create a risk of harm or
  danger to any other person or the community.
  The undersigned does not find by a preponderance of the evidence that the release of the
  defendant would create a risk of flight on his part.


  WHEREFORE, it is ORDERED that the defendant be detained pending further
  proceedings in this matter.


                                            Signed: September 26, 2008




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